Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 1 of 31 Page ID #:717



 1   DONALD W. COOK, CSB 116666
     ATTORNEY AT LAW
 2   3435 Wilshire Blvd., Suite 2910
     Los Angeles, CA 90010
 3   (213) 252-9444 / (213) 252-0091 facsimile
     E-mail: manncooklaw@gmail.com
 4
     Attorney for Plaintiffs
 5

 6

 7

 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
      BREONNAH FITZPATRICK,                            Case No. 2:21-cv-6841 JGB
11    CHRISTOPHER OFFICER and                          (SPx)
      TIMOTHY McCARTY, individuals and as
12    class representatives,                           PLAINTIFFS’ OPPOSITION
                                                       TO MOTION TO DISMISS
13                             Plaintiffs,             SECOND AMENDED
                                                       CLASS ACTION CIVIL
14    vs.                                              RIGHTS COMPLAINT

15    CITY OF LOS ANGELES, et al.,                     Date: 8/1/22
                                                       Time: 9:00 a.m.
16                             Defendants.             Ctrm: 1 (Riverside)

17

18

19

20

21

22

23

24

25

26

27

28

                                                 -1-                         00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 2 of 31 Page ID #:718



 1                                               TABLE OF CONTENTS
                                                                                                                           Page
 2

 3   Table of Authorities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
 4   I.       Overview. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
 5   II.      The Fourth Amendment Violations Are Adequately Pled. . . . . . . . . . . . . . . . 7
 6            A.       The Police Cannot Invoke Community Caretaking To Enforce
                       Penal Statutes. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
 7            B.       Seizing A Vehicle For Expired Registration Is Not
                       Community Caretaking. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
 8            C.       Deterrence Of Future Unlawful Parking Is Not Community Caretaking.12
              D.       Seizing A Vehicle For Unpaid Parking Tickets Is Not
 9                     Community Caretaking. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
              E.       Seizing A Vehicle To Coerce Payment Of Purported Unpaid Fines Is Not
10                     Community Caretaking. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
              F.       No Precedent Supports Defendants’ Argument. . . . . . . . . . . . . . . . . . 15
11
     III.     Plaintiffs Allege Due Process Violations. . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
12
              A.       Plaintiffs’ Standing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
13            B.       Defendants’ Policy To Impounds Vehicles To Enforce Debt Collection
                       Violates Due Process. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
14                     C. The Allegations That Defendants Ignore Vehicle Owners Ability To
                       Pay, State A Due Process Claim. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
15
     IV.      The SAC Alleges Valid Takings Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
16
     V.       The SAC Adequately Alleges Entity Liability. . . . . . . . . . . . . . . . . . . . . . . . 29
17
     VI.      The SAC Properly Names the City, LAPD and LADOT as
18            Separate Defendants. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
19   VII. The Removal of the “Legally Parked” Allegation. . . . . . . . . . . . . . . . . . . . . . 30
20   VIII. No Individual Defendant Is Entitled to Qualified Immunity. . . . . . . . . . . . . . 30
21   IX.      Conclusion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
22

23

24

25

26

27

28

                                                                 -2-                                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 3 of 31 Page ID #:719



 1                                                Table of Authorities
                                                                                                                Page(s)
 2   Cases
 3   Berger v. Philadelphia Parking Authority,
          413 F.Supp.3d 412 (E.D. Penn. 2019) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
 4
     Bravo v. City of Santa Maria,
 5        665 F.3d 1076 (9th Cir. 2011) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
 6   Brewster v. Beck,
          859 F.3d 1194 (9th Cir. 2017) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7-9, 16, 19
 7
     Brewster v. City of Los Angeles,
 8        No. 5:14-cv-2257 (JGB) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28, 29
 9   Cady v. Dombrowski,
          413 U.S. 433 (1973) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9, 10, 12, 18
10
     Caniglia v. Strom,
11         __ U.S. __, 141 S.Ct. 1596 (2021) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13, 14
12   Cedar Point Nursery v. Hassid,
          594 U. S. ____ (2021) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28, 29
13
     Cholerton v. Brown,
14        No. 2:13-cv-8992-GW (JEMx) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
15   City of Los Angeles v. Patel,
            576 U.S. 409 (2015) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
16
     Clement v. City of Glendale,
17        518 F.3d 1090 (9th Cir. 2008) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 17
18   Cotton v. City of San Bernardino,
           No. EDCV 18-2343, 2020 WL 5900154 (C.D. Cal. 2020) . . . . . . . . . . . . . . 17
19
     Damiano v. City and County of San Francisco,
20        2014 WL 6359763 (N.D. Cal. 2014) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
21   David v. City of Los Angeles,
          307 F.3d 1143 (9th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
22
     Deligiannis v. City of Anaheim,
23         2010 WL 1444538 (C.D. Cal. 2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30-32
24   Goichman v. Rheuban Motors, Inc.,
          682 F.2d 1320 (9th Cir. 1982) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
25
     Hallal v. Seroka,
26         2018 WL 3528709 (E.D. Cal. 2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
27   Hallstrom v. City of Garden City,
           991 F.2d 1473 (9th Cir. 1993) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
28

                                                              -3-                                               00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 4 of 31 Page ID #:720



 1   Hyde v. City of Wilcox,
          23 F.4th 863 (9th Cir. 2022) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
 2
     Karim-Panahi v. Los Angeles Police Dept.,
 3        839 F.2d 621 (9th Cir. 1988) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
 4   Kokesh v. Securities and Exchange Commission,
          137 S.Ct. 1635 (2017) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
 5
     Krimstock v. Kelly,
 6        464 F.3d 246 (2nd Cir. 2006) (Krimstock III) . . . . . . . . . . . . . . . . . . . . . . . . 25
 7   Laine v. City of Livermore,
           No. 3:15-cv-3656 VC (N.D. Cal. 2016) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
 8
     Le v. Dep’t of Parking & Traffic of San Francisco,
 9          3:04-cv-3432 CRB (N.D. Cal. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
10   Malley v. Briggs,
           475 U.S. 335 (1986) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
11
     Miranda v. City of Cornelius,
12        429 F.3d 858 (9th Cir. 2005) . . . . . . . . . . . . . . 7, 10, 12, 14-19, 22, 25, 30, 31
13   Mitchell v. W.T. Grant Co.,
          416 U.S. 600 (1974) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
14
     North Georgia Finishing v. Di-Chem,
15         419 U.S. 601 (1975) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
16   Oberhausen v. Louisville-Jefferson County Metro Government,
          527 F.Supp.2d 713 (W.D. Ky. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
17
     Ordonez v. Stanley,
18        495 F.Supp.3d 855 (C.D. Cal. 2020) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
19   People v. Dueñas,
           30 Cal.App.5th 1157 (2019) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
20
     People v. Torres,
21         188 Cal.App.4th 775 (2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
22   Pina v. City of Long Beach,
           No. 2:17-cv-00549, 2019 WL 6998662 (C.D. Cal. 2019) . . . . . . . . . . . . 17, 18
23
     Rackley v. City of New York,
24         186 F.Supp.2d 466 (S.D.N.Y. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
25   Sandoval v. County of thSonoma,
          912 F.3d 509 (9 Cir. 2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . 9, 12, 16, 19, 25
26
     Schneider v. County of San Diego,
27         28 F.3d 89 (9th Cir. 1994) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 16
28

                                                             -4-                                              00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 5 of 31 Page ID #:721



 1   Scofield v. City of Hillsborough,
           862 F.2d 759 (9th Cir. 1988) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 17, 26, 27
 2
     Smith v. Reiskin,
 3         2018 WL 7820727 (N.D. Cal. 2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
 4   Sniadach v. Family Corp. Of Bay View,
           395 U.S. 337 (1969) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21, 22
 5
     Snitko v. United States,
 6         2021 WL 3139706 (C.D. Cal. 2021) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
 7   South Dakota v. Opperman,
           428 U.S. 364 (1976) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 18, 22, 23
 8
     Stypmann v. City & County of San Francisco,
 9        557 F.3d 1338 (9th Cir. 1977) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22, 24
10   Tate v. District of Columbia,
           627 F.3d 904 (D.C. Cir. 2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
11
     Tounget v. City of Hemet,
12        2011 WL 13143671 (C.D. Cal. 2011) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
13   United States v. Bajakajian,
           524 U.S. 321 (1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
14
     United States v. Cervantes,
15         678 F.3d 798 (9th Cir. 2012) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
16   United States v. Jensen,
           425 F.3d 698 (9th Cir. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
17
     United States v. Jones,
18         565 U.S. 400 (2012) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
19   United States v. Marshall,
           986 F.2d 1171 (8th Cir. 1993) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 20
20
     Waters v. Hollywood Tow Serv.,
21        No. 2:10-cv-7568 CAS (AJWx) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
22
     Constitutions / Statutes / Rules of Court
23
     Cal. Const., Art. III § 3.5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
24
     Cal. Pen. Code § 16 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
25
     Cal. Veh. Code § 14602.6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11, 29
26
     Cal. Veh. Code § 22651 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 14, 18, 21, 23, 25
27
     Cal. Veh. Code § 22851 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
28

                                                                -5-                                                00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 6 of 31 Page ID #:722



 1   Cal. Veh. Code § 22852 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23-26
 2   Cal. Veh. Code § 40000 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11, 12
 3   Cal. Veh. Code § 40000.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
 4   Cal. Veh. Code § 40000.28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
 5   Federal Rules of Civil Procedure 12 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7, 19
 6   Los Angeles Municipal Code § 80.76 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
 7   Title 42, United States Code § 1983 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27, 29
 8   U.S. Const., Amend. IV . . . . . . . . . . . . . . . . . . . . . . . . 7-10, 13, 15-17, 19, 20, 28, 31
 9   U.S. Const., Amend. V . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7, 15
10   U.S. Const., Amend. XIV . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                             -6-                                               00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 7 of 31 Page ID #:723



 1   I. Overview.
 2         In this proposed class action lawsuit seeking damages and injunctive relief,
 3   Plaintiffs contend that a City of Los Angeles custom, policy and practice of seizing and
 4   impounding vehicles without warrants or any judicial review, to coerce the vehicles’
 5   registered owners to pay allegedly overdue parking fines, violates constitutional
 6   guarantees. Defendants now bring a Rule 12(b)(6) challenge to the Second Amended
 7   Complaint (“SAC”) (ECF 70, filed 6/9/22).
 8         Initially, defendants’ misstate Plaintiffs’ objective. Plaintiffs do not seek to “limit
 9   the ability of governments to fulfill their community caretaking responsibilities via
10   parking enforcement” (ECF 71-1 @ 8:3-4); rather, Plaintiffs seek relief that mandates
11   that defendants comply with constitutional requirements imposed by the Fourth, Fifth
12   and Fourteenth Amendments. Furthermore, without acknowledging what they have done
13   defendants blur into one what are actually two separate seizures for analysis purposes
14   – defendants’ initial removal of Plaintiffs’ vehicles from the street, followed by

15   defendants’ subsequent refusal to release to Plaintiffs their respective vehicles. As will

16   be shown, a justified initial seizure does not ipso facto make defendants’ later refusal

17   to release Plaintiffs’ vehicles, constitutional.

18         Defendants’ motion fails because defendants’ practice of seizing and holding a

19   person’s vehicle as hostage until the owner pays the money the City says is owed for

20   unpaid parking tickets, is a property seizure in the absence of any judicial or quasi-

21   judicial review pre- or post-seizure. The seizures thus violate the constitution.

22   II. The Fourth Amendment Violations Are Adequately Pled.

23         Both the initial decision to remove from the street Plaintiffs’ vehicles and the

24   later refusal to release to Plaintiffs their vehicles, were separate Fourth Amendment

25   seizures. E.g., Miranda v. City of Cornelius, 429 F.3d 858, 862 (9th Cir. 2005) (“The

26
     impoundment of an automobile is a seizure within the meaning of the Fourth

27
     Amendment.”); Brewster v. Beck, 859 F.3d 1194, 1196-97 (9th Cir. 2017) (“The Fourth

28
     Amendment doesn’t become irrelevant once an initial seizure has run its course.

                                                 -7-                                     00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 8 of 31 Page ID #:724



 1   [Citations omitted.] A seizure is justified under the Fourth Amendment only to the
 2   extent that the government’s justification holds force. Thereafter, the government must
 3   cease the seizure or secure a new justification.”); accord Snitko v. United States, 2021
 4   WL 3139706 *4 (C.D. Cal. 2021) (Citing Brewster, Judge Klausner holds that “the
 5   Fourth Amendment is implicated by the Government’s delay in returning seized
 6   property, irrespective of the Government’s initial basis for seizing the property.”).
 7            Since the initial seizures of Plaintiffs’ vehicles and the later refusals to release the
 8   vehicles were without warrants, defendants must show justification for both seizures.
 9   City of Los Angeles v. Patel, 576 U.S. 409, 419 (2015). Moreover, a lawful initial
10   seizure does not immunize from constitutional challenge the later refusal to release the
11   vehicle. Brewster, supra (Defendants seized initially lawfully seized the car because its
12   driver was unlicensed and no licensed driver was available to take possession; however,
13   defendants’ later refusal to release the car to its registered owner and licensed driver Ms.
14   Brewster violated the Fourth Amendment.).

15            At some length and without distinguishing between the initial seizure versus the

16   later refusal to release the vehicles, defendants argue community caretaking justified the

17   warrantless seizures. ECF 71-1 @ 10:19-15:14. The argument fails:

18              At the time of the initial seizures, all Plaintiffs’ vehicles were parked such that

19   they were “not impeding traffic or jeopardizing public safety and convenience,” “not

20   blocking a driveway or crosswalk or otherwise preventing the efficient movement of

21   traffic,” and were “not creating a public safety hazard, nor [were they] target[s] for

22   vandalism or theft.” ECF 70, SAC ¶¶17, 21 & 26. Given these allegations, defendants

23   cannot argue the initial seizures were justified because the vehicles, if not towed,

24   presented a traffic hazard of some type or were at some heightened risk of vandalism

25   or theft.1 Hyde v. City of Wilcox, 23 F.4th 863, 869 (9th Cir. 2022) (SAC’s allegations

26
          1
            There is an additional fact in the case of Plaintiff McCarty. Mr. McCarty, a
27    licensed driver, was working on his car when LAPD officers towed it (because of
      unpaid parking tickets and expired registration). SAC ¶24. Thus, even if the car was
28    parked so as to constitute of hazard of some type (it wasn’t so parked) Mr. McCarty
                                                     -8-                                     00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 9 of 31 Page ID #:725



 1   must be accepted as true). Therefore, there was no community caretaking justification
 2   for removing Plaintiffs’ vehicles from the street.
 3            Since all Plaintiffs were licensed drivers and were their respective vehicles’
 4   registered owner, defendants’ refusal to immediately release the cars to Plaintiffs upon
 5   their demand was another Fourth Amendment violation. Brewster, 859 F.3d at 1196-97;
 6   Sandoval v. County of Sonoma, 912 F.3d 509, 516 (9th Cir. 2018).
 7         Despite the foregoing, defendants argue they committed no Fourth Amendment
 8   violations because seizing a vehicle for unpaid parking tickets and/or expired
 9   registration falls with the ambit of the community caretaking exception to the warrant
10   requirement. ECF 71-1 @ 11:5-13:6. In pushing this argument, defendants seriously and
11   inexcusably distort and misstate the community caretaking doctrine. And the principal
12   authorities defendants rely, besides being non-precedent, are, to the extent even
13   applicable to the facts of this case, contrary to controlling Supreme Court and Ninth
14   Circuit precedent.

15         A. The Police Cannot Invoke Community Caretaking To Enforce Penal

16         Statutes.

17         Community caretaking has its genesis in Cady v. Dombrowski, 413 U.S. 433

18   (1973). Cady explained that in contrast with federal law enforcement, local police will

19   frequently be called upon to seize vehicles to maintain traffic safety and protect the

20   vehicle; hence, the Court recognized a “community caretaking” function divorced from

21   the enforcement of criminal laws:

22         Some such contacts [between local police and vehicle operator] will occur

23         because the officer may believe the operator has violated a criminal statute,

24         but many more will not be of that nature. Local police officers, unlike

25         federal officers, frequently investigate vehicle accidents in which there is

26
           no claim of criminal liability and engage in what, for want of a better term,

27

28    could have immediately moved it to a safe location.
                                                -9-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 10 of 31 Page ID #:726



 1         may be described as community caretaking functions, totally divorced from
 2         the detection, investigation, or acquisition of evidence relating to the
 3         violation of a criminal statute.
 4   413 U.S. at 441 (emphasis added); see also 413 U.S. at 442-43 (car towed because it
 5   was “disabled” and thus “a nuisance along the highway” while the subsequent vehicle
 6   search which uncovered the incriminating firearm, was not done to find evidence of
 7   crime but only to secure property found within the vehicle).
 8         In Miranda v. City of Cornelius, 429 F.3d 858 (9th Cir. 2005), the Ninth Circuit
 9   elaborated on this crucial difference between vehicle seizures motivated by community
10   caretaking versus those effected in the course of criminal law enforcement:
11                The police’s authority to search and seize property when acting in
12         its role as “community caretaker” has a different source than its authority
13         to search and seize property to investigate criminal activity. The
14         reasonableness of a seizure under the “caretaker” function differs from the

15         bright-line rule concerning probable cause in the criminal context.[footnote

16         omitted] “The standard of probable cause is peculiarly related to criminal

17         investigations, not routine, non-criminal procedures. The probable-cause

18         approach is unhelpful when analysis centers upon the reasonableness of

19         routine administrative caretaking functions, particularly when no claim is

20         made that the protective procedures are a subterfuge for criminal

21         investigations.” South Dakota v. Opperman, 428 U.S. 364, 371, 96 S.Ct.

22         3092, 49 L.Ed.2d 1000, n. 5 (1976).

23   429 F.3d at 863.

24         Consequently, if the police seize a car claiming community caretaking but in

25   reality the police effected the seizure to search for evidence of crime, the seizure

26
     violates the Fourth Amendment. United States v. Cervantes, 678 F.3d 798, 807 (9th Cir.

27
     2012) (“The happy accident of not finding Cervantes’s driver’s license [thus justifying

28
     a vehicle impound under Cal. Veh. Code § 14602.6] cannot excuse the officers’

                                               -10-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 11 of 31 Page ID #:727



 1   [criminal] investigatory motive for the vehicle impoundment and inventory search.”).
 2           B.    Seizing A Vehicle For Expired Registration Is Not Community
 3           Caretaking.
 4           California has three types of “[c]rimes and public offense”: (1) felonies; (2)
 5   misdemeanors; and (3) infractions. Cal. Pen. Code § 16. Operating or parking a vehicle
 6   on a public street without current valid registration is a violation of Cal. Veh. Code
 7   § 40000.2 A violation of § 40000 is either an infraction or misdemeanor depending on
 8   the registered owner’s conviction record. Cal. Veh. Code § 40000.1 (Unless otherwise
 9   stated, violation of vehicle code is an infraction)) § 40000.28 (Violation of § 40000 is
10   a misdemeanor if in the 12 months preceding the § 40000 violation, the person has three
11   or more prior violations of the vehicle code or of a local ordinance adopted pursuant to
12   the vehicle code.).
13           Defendants’ argument that towing the vehicles owned by Plaintiffs McCarty and
14   Fitzpatrick was justified under the community caretaking doctrine because neither

15   vehicle had current valid registration as required by § 40000, ECF 71-1 @ 13:9-13,

16   fails. Section 40000 is a penal statute; hence, towing a car for an alleged violation of

17   § 40000 is seizing the vehicle in order to enforce a penal statute. But the community

18   caretaking function is “totally divorced from the detection, investigation, or acquisition

19   of evidence relating to the violation of a criminal statute.” Cady, 413 U.S. at 441

20   (emphasis added); see also South Dakota v. Opperman, 428 U.S. 364, 371 (1976)

21   (Disapproving use of community caretaking as “a subterfuge for criminal

22
         2
23           In relevant part § 4000, subdivision (a)(1), states:
24             A person shall not drive, move, or leave standing upon a highway, or in
               an offstreet public parking facility, any motor vehicle, trailer, semitrailer,
25             pole or pipe dolly, or logging dolly, unless it is registered and the
               appropriate fees have been paid under this code or registered under the
26             permanent trailer identification program, except that an off-highway
               motor vehicle which displays an identification plate or device issued by
27             the department pursuant to Section 38010 may be driven, moved, or left
               standing in an offstreet public parking facility without being registered or
28             paying registration fees.
                                                   -11-                                    00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 12 of 31 Page ID #:728



 1   investigation.”); Miranda, 429 F.3d at 864 (explaining that community caretaking is not
 2   a function of criminal law enforcement).
 3         The argument that the phrase “illegally parked”as used in Miranda (429 F.3d at
 4   867) includes a car parked with expired registration even though the car is not impeding
 5   traffic or otherwise presenting a traffic hazard (ECF 71-1 @ 10:23-24) is meritless.
 6   Regarding community caretaking, Miranda’s “illegally parked” means a car parked so
 7   as to “ ‘impede traffic [or] threaten public safety . . .’ ” (quoting Hallstrom v. City of
 8   Garden City, 991 F.2d 1473 (9th Cir. 1993)), meaning if left on the road, the
 9   vehicle“jeopardize[s] public safety and the efficient movement of vehicular traffic.”
10   Miranda, 429 F.3d at 864 (quoting South Dakota v. Opperman, 428 U.S. at 368-69).
11   Note too Miranda’s reliance (at page 864) on United States v. Jensen, 425 F.3d 698, 705
12   (9th Cir. 2005) in which Jensen described community caretaking as the “doctrine
13   allow[ing] law enforcement officers to seize and remove any vehicle which may impede
14   traffic, threaten public safety, or be subject to vandalism.”

15         Further support for the above is found in state law. As the Court previously noted,

16   4/8/22 Order @ 5 (ECF 60), C.V.C. § 22651(o)(1)(A) precludes towing a vehicle for

17   expired registration of less than six months. This limitation is the California

18   Legislature’s recognition that a vehicle on the street with expired registration is not a

19   per se traffic hazard. Moreover, as applied to the towing of Ms. Fitzpatrick’s car, state

20   law barred towing it for an alleged § 40000 violation. 4/8/22 Order @ 5 (ECF 60).

21         C. Deterrence Of Future Unlawful Parking Is Not Community Caretaking.

22         Defendants argue that towing vehicles is necessary to “deter[] [] parking

23   illegally.” ECF 71-1 @ 11:15-16. But Ninth Circuit law is clear – deterrence cannot

24   constitute a community caretaking justification. Miranda, 429 F.3d at 866 (“deterring

25   . . . illegal activity in the future” is inconsistent with community caretaking); Sandoval

26
     v. County of Sonoma, 912 F.3d at 516 (“wrong to rely on [] deterrence” to justify a

27
     vehicle impound).

28
     ///

                                                -12-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 13 of 31 Page ID #:729



 1         D. Seizing A Vehicle For Unpaid Parking Tickets Is Not Community
 2         Caretaking.
 3         A traffic violation that violates some provision of the City of Los Angeles’
 4   Municipal Code is either a misdemeanor or infraction. L.A.M.C. § 80.76(b) (“Except
 5   as provided elsewhere, any person violating any of the provisions of this chapter shall
 6   be guilty of a misdemeanor . . .”); § 80.76.1 (“Notwithstanding Section 80.76 of the Los
 7   Angeles Municipal Code, violation of any of the sections or subsections of the Los
 8   Angeles Municipal Code described herein shall be an infraction: [list of various traffic-
 9   related offenses including parking violations]”).
10         As already explained, defendants cannot invoke community caretaking to justify
11   enforcement of traffic related offenses proscribed by the L.A.M.C. since the offenses
12   are penal statutes, i.e., either misdemeanor or infractions. See also this Court’s
13   discussion at pp. 4 & 5 of its 4/8/22 Order (ECF 60), and in particular the following
14   statement at page 5:

15         As it is apparently not obvious, the Court has focused and continues to

16         focus its analysis on whether any of the violations include penalties that

17         could subject Plaintiff’s vehicle to lawful tow and impound under the

18         community caretaking doctrine. They do not. [Emphasis added.]

19         E. Seizing A Vehicle To Coerce Payment Of Purported Unpaid Fines Is Not

20         Community Caretaking.

21         Defendants are arguing for an expansive reading of Fourth Amendment

22   community caretaking to cover debt collection. Such a reading conflicts with the

23   Supreme Court’s recent decision in Caniglia v. Strom, __ U.S. __, 141 S.Ct. 1596

24   (2021). There, the police seized firearms found inside a person’s home because the

25   firearms’ owner was taken into custody for a psychiatric evaluation. The Supreme Court

26
     rejected the First Circuit’s attempt at interpreting community caretaking to include a

27
     catch-all exception for seizing property in order to protect the community:

28
           Cady’s [Cady v. Dombrowski, 413 U.S. 433 (1973)] unmistakable

                                               -13-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 14 of 31 Page ID #:730



 1           distinction between vehicles and homes also places into proper context its
 2           reference to “community caretaking.” This quote comes from a portion of
 3           the opinion explaining that the “frequency with which ... vehicle[s] can
 4           become disabled or involved in ... accident[s] on public highways” often
 5           requires police to perform noncriminal “community caretaking functions,”
 6           such as providing aid to motorists. 413 U.S. at 441, 93 S.Ct. 2523. But, this
 7           recognition that police officers perform many civic tasks in modern society
 8           was just that-a recognition that these tasks exist, and not an open-ended
 9           license to perform them anywhere.
10   Id. at 1599-1600.
11           Plainly, Caniglia read the community caretaking doctrine as born out of the
12   necessity for the police to promptly take possession of a vehicle which if not seized,
13   poses an immediate threat to public safety and/or is at risk of vandalism, etc. Miranda,
14   429 F.3d at 864 (explaining community caretaking as set forth in Opperman). Seizing

15   a vehicle to collect a debt obviously serves no such interest.

16           Moreover, as this the Court correctly noted in its 4/8/22 Order at page 4, towing

17   a vehicle because its registered owner has unpaid parking fines is not a penalty or

18   punitive measure authorized by the Los Angeles Municipal Code. And to the extent

19   defendants rely on state law for towing a vehicle, to wit C.V.C. § 22651(i) (five or more

20   unpaid parking citations) or C.V.C. § 22651(o)(1)(A) (expired registration in excess of

21   six months), in the absence of establishing community caretaking justification, the

22   reliance on state law cannot justify towing the vehicle. Miranda, 429 F.3d at 864 (“We

23   begin with the premise, apparently not recognized by the Defendants, that the decision

24   to impound pursuant to the authority of a city ordinance and state statute does not, in

25   and of itself, determine the reasonableness of the seizure under the Fourth Amendment,

26
     as applied to the states by the Fourteenth Amendment.”).3

27
         3
            In a case raising the same issue, Judge Jeffrey S. White of the Northern District
28    reached the same conclusion, i.e., debt-collection does not constitute community
                                                 -14-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 15 of 31 Page ID #:731



 1           There is yet another fundamental problem with defendants seizing and
 2   impounding vehicles as hostages unless and until their owners make payments on tickets
 3   that the City demands. The vehicle seizures, both initial and ongoing, are effected
 4   without any judicial review. When government officials seize property to enforce
 5   collection of purported debt and such seizures are effected without any judicial review,
 6   the seizures violates the constitution. See Part III(B), infra.
 7           F. No Precedent Supports Defendants’ Argument.
 8           First, defendants have not cited a single Ninth Circuit decision post-Miranda v.
 9   City of Cornelius in which the court held that community caretaking justified seizing
10   a vehicle which was not a traffic hazard and not at risk of vandalism or theft.
11           Defendants cite Schneider v. County of San Diego, 28 F.3d 89 (9th Cir. 1994).
12   But Schneider is inapplicable for it was later superceded by Supreme Court and Ninth
13   Circuit decisions. In Schneider, the seizure and removal of the vehicles from plaintiff’s
14   property did not raise a Fourth Amendment issue as the seizures “did not impinge on

15   any legitimate privacy interest” while the seizures “were authorized pursuant to the

16   police power of the State of California.” 28 F.3d at 92.4

17           On Schneider’s first point – no legitimate privacy interest – Supreme Court has

18   since held that a Fourth Amendment claim is not limited to a person’s reasonable

19   expectation of privacy; when state agents commit a common law trespass that suffices

20

21    caretaking:

22            Defendants argue that their impoundment of the car was proper in an
              effort to secure repayment of the debt owed by Mr. Kayode for his
23            previous parking tickets under Vehicle Code Section 22651(i). . . .
              Towing of the vehicle pursuant to the authority of an ordinance
24            permitting seizure for repeated non-payment of parking fees does not, in
              and of itself, justify the seizure.
25
      Smith v. Reiskin, 2018 WL 7820727 *3 (N.D. Cal. 2018).
26
         4
          The county (by and through an agent) also dismantled or destroyed the vehicles
27    which eventually resulted in the Panel finding a due process violation and Fifth
      Amendment taking as a matter of law. Schneider v. County of San Diego, 285 F.3d
28    784, 788 (9th Cir. 2002).
                                                -15-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 16 of 31 Page ID #:732



 1   to trigger the Fourth Amendment. United States v. Jones, 565 U.S. 400, 411 (2012).
 2         Turning to Schneider’s second point – seizures were authorized by state law – the
 3   later decisions in Miranda, Brewster, and Sandoval hold that state law in and of itself
 4   cannot determine Fourth Amendment reasonableness.
 5         It is thus unsurprising that this Court has already rejected defendants’ reliance on
 6   Schneider. See ECF 48, 1/20/22 Order @ page 6, fn 3.
 7         Nor are the Ninth Circuit’s decisions in Scofield v. City of Hillsborough, 862 F.2d
 8   759 (9th Cir. 1988) and Clement v. City of Glendale, 518 F.3d 1090 (9th Cir. 2008)
 9   applicable. In Scofield, the police seized and towed the vehicle because it was illegally
10   parked and unregistered. After paying the fines and registering his vehicle, the plaintiff
11   reclaimed possession. There was no prolonged seizure, whether 30 days or otherwise.
12   The issues were, was plaintiff entitled to a hearing before the police towed the vehicle
13   (he was not); was the plaintiff entitled to notice before the towing (he was not); and was
14   he entitled to an immediate hearing before he paid the tow charges, rather than

15   afterwards (he was not). 862 F.2d at 762-65. Plainly, Scofield was all about timing of

16   notice and hearing, not whether a lawfully parked vehicle seized without a warrant

17   violated the Fourth Amendment.

18         Turning to Clement, that too was a due process case. 518 F.3d at 1092. Moreover,

19   in its due process analysis, the panel found “the costs and burdens on the car owner

20   associated with a tow can only be justified by conditions that make a tow necessary and

21   appropriate, such as that the car is parked in the path of traffic, blocking a driveway,

22   obstructing a fire lane or appears abandoned.” Id. at 1094. Clearly consistent with

23   Miranda, Clement was describing community caretaking. Lastly, Clement’s statement

24   that “a tow may also be appropriate where there are no current registration stickers and

25   police can’t be sure that the owner won’t move or hide the vehicle, rather than pay the

26
     fine for illegal parking” (emphasis added) is dicta, dicta Clement supported by citing the

27
     inapplicable pre-Miranda Scofield decision. 518 F.3d at 1094-95.

28
           The district court rulings defendants cite (mostly by magistrate judges and

                                                -16-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 17 of 31 Page ID #:733



 1   involving pro se plaintiffs) either do not discuss or misstate Miranda and Supreme
 2   Court authorities on community caretaking, by broadening the justification to include
 3   deterrence, enforcement of penal statutes and/or collection of debt (e.g., “ ‘(p)arking
 4   enforcement’ ” constitutes community caretaking justification [ECF 71-1 @ 12:4-5]).
 5   None of the decisions defendants cite are precedent nor are they persuasive:
 6              Cotton v. City of San Bernardino, No. EDCV 18-2343, 2020 WL 5900154
 7   (C.D. Cal. 2020) (Magistrate Judge Rosenberg). In discussing the plaintiff’s wrongful
 8   vehicle seizure, the court noted that impounding vehicles in the absence of community
 9   caretaking (which the court defined as “imped[ing] traffic or threaten[ing] public
10   safety”) violates the Fourth Amendment. But the complaint’s allegations were unclear
11   as to the factual basis for the impound and thus the court could not resolve the issue.
12   Instead, the court dismissed the claim because the plaintiff “had not sufficiently alleged
13   a [Monell] basis for asserting this Fourth Amendment claim against the County.” 2020
14   WL 5900154 @ *7-*8.

15              Pina v. City of Long Beach, No. 2:17-cv-00549, 2019 WL 6998662 (C.D. Cal.

16   2019) is a ruling by Magistrate Judge Kewalrami. The case hurts rather than help

17   defendants. On the pro se plaintiff’s Fourth Amendment claim, the court held that

18   towing plaintiff’s car on account of unpaid parking citations was not justified “as a valid

19   administrative penalty permitting the civil forfeiture.” Id., at *8; see also discussion at

20   *9-*11.5

21              Cholerton v. Brown, No. 2:13-cv-8992-GW (JEMx) arises from a pro se

22   plaintiff’s lawsuit claiming, inter alia, an unlawful vehicle impound. Magistrate Judge

23   McDermott’s ruling (ECF 26 filed 5/16/14) upholding the impound for expired

24
           5
25           It is correct that in Pina, the court stated the second tow was justified by
      community caretaking because the registration had been expired for more than a year
26    and plaintiff had continued to drive the vehicle with expired registration. 2019 WL
      6998662 @ *12-*13. That conclusion, however, is inconsistent community cartaking
27    as defined by Cady, Opperman and Miranda. See discussion above at Part II(A)-(E);
      see also 429 F.3d at 866 (“deterring . . . illegal activity in the future” not consistent
28    with community caretaking).
                                                -17-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 18 of 31 Page ID #:734



 1   registration does not say how long the registration was expired, nor does the ruling
 2   acknowledge the police “cannot tow on less than six months expired registration”
 3   provision of C.V.C. § 22651(o)(1)(A). But even assuming the registration was expired
 4   for more than six months, the magistrate judge’s suggestion that Miranda would uphold
 5   the impound is a serious misstatement of Miranda. See supra Part II(A)-(B).
 6             Waters v. Hollywood Tow Serv., No. 2:10-cv-7568 CAS (AJWx), involved a
 7   pro se plaintiff declared a vexatious litigant (ECF 81 filed 4/25/11). To the extent one
 8   can read the magistrate judge’s ruling that impounding a vehicle merely because a
 9   parking citation constitutes community caretaking justification (ECF 97 @ page 7) the
10   ruling is contrary to Supreme Court and Ninth Circuit precedent (supra at Part II(A)-
11   (C)).
12             Laine v. City of Livermore, No. 3:15-cv-3656 VC (N.D. Cal. 2016). Another
13   pro se plaintiff claiming wrongful vehicle impound (among other claims). The district
14   judge stated the impound was “probably . . . reasonable” to protect the vehicle from

15   vandalism or theft. In apparent dictum, however, the court added that given plaintiff’s

16   avowed intention to never register his vehicle, that too may have justified the impound.

17   ECF 73 filed 5/23/16 @ page 2.

18             Le v. Dep’t of Parking & Traffic of San Francisco, 3:04-cv-3432 CRB (N.D.

19   Cal. 2005), was a Northern District of California lawsuit prosecuted by a pro se

20   plaintiff. The district court’s “Memorandum and Order” granting a Rule 12(b)(6) motion

21   was filed January 24, 2005, i.e., some ten months before the Ninth Circuit’s Miranda

22   decision and of course years before Brewster, and the Le plaintiff did not appeal.

23           The out-of-circuit decisions defendants cite are similarly unpersuasive. In Tate

24   v. District of Columbia, 627 F.3d 904 (D.C. Cir. 2010), the court stated “Tate is correct

25   that booting is not about caretaking: it ‘does not promote the flow of traffic.’ Saukstelis

26
     v. City of Chicago, 932 F.2d 1171, 1173 (7th Cir.1991). Rather, as noted earlier, booting

27
     and subsequent impoundment, like other ticketing measures, have a deterrent and

28
     remedial purpose-they deter and punish delinquent payment of fines.” 627 F.3d at 911,

                                                -18-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 19 of 31 Page ID #:735



 1   fn7. But as this Court previously ruled “Courts in this circuit consistently repudiate
 2   deterrence rationales raised in the community caretaking context.” ECF 48, 1/20/22
 3   Order @ page 7, fn4.
 4         Moreover, Tate and Berger v. Philadelphia Parking Authority, 413 F.Supp.3d 412
 5   (E.D. Penn. 2019) found the seizures lawful as forfeitures. 413 F.Supp.3d at 418. But
 6   that is contrary to Brewster and Sandoval (forfeiture of vehicles in the absence of
 7   judicial review is unconstitutional). Similarly, in Oberhausen v. Louisville-Jefferson
 8   County Metro Government, 527 F.Supp.2d 713, 727 (W.D. Ky. 2007), the district court
 9   found that a state law authorizing vehicle seizures sufficed to comply with the Fourth
10   Amendment. That too is contrary to Ninth Circuit law. Miranda, 429 F.2d at 864. And
11   for reasons this Court expressed in its 1/20/22 Order @ page 6, fn 3 (ECF 48) Rackley
12   v. City of New York, 186 F.Supp.2d 466 (S.D.N.Y. 2002) is inapplicable given that it
13   relies upon similar reasoning.
14         Lastly, United States v. Marshall, 986 F.2d 1171 (8th Cir. 1993) offers no support

15   for defendants’ position. Marshall’s issue was not the initial seizure of the defendant’s

16   vehicle; it was the inventory search the police performed after impounding the vehicle.

17   986 F.2d at 1174. The Eighth Circuit questioned whether the inventory search was

18   pursuant to a standardized procedure, and not a “ruse for general rummaging in order

19   to discover incriminating evidence.” 986 F.2d at 1175. The court’s statement that there

20   was “no dispute that the vehicle was properly impounded” because “Officer Wuellner

21   testified that department policy requires the impoundment of vehicles that have ten

22   unpaid parking tickets,” was simply a recital of an undisputed fact the defendant never

23   disputed or claimed violated the Fourth Amendment. Rather, defendant challenged

24   (successfully) the subsequent inventory search as having violated the Fourth

25   Amendment. 986 F.2d at 1175-76.

26
     ///

27
     ///

28
     ///

                                               -19-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 20 of 31 Page ID #:736



 1   III. Plaintiffs Allege Due Process Violations.
 2           A. Plaintiffs’ Standing.
 3           Defendants’ assertion that Plaintiffs lack standing to allege the due process
 4   violation because they have not stated in their SAC that they have been unable to
 5   register their vehicles, ECF 71-1 @ 18:9-19:4) is meritless. The SAC alleges defendants
 6   seized their vehicles and would not allow release the vehicles until Plaintiffs paid to the
 7   City the money the City says it is owed for parking tickets. SAC ¶¶ 14, 16, 18, 22, 24
 8   and 27.6
 9           B. Defendants’ Policy To Impounds Vehicles To Enforce Debt Collection
10           Violates Due Process.
11           The gravamen of the due process claim is that the City places DMV holds on
12   Plaintiffs’ and class members’ vehicle registrations to deny Plaintiffs and class members
13   the ability to obtain current registration unless and until they pay the City what it claims
14   it is owed for unpaid parking tickets. SAC ¶65 (“[D]efendants are holding as hostage

15   the vehicles belonging to Plaintiffs and class members unless and until Plaintiffs and

16   class members pay up.”). The hold on vehicle registration – which arises from the City’s

17   claim of unpaid parking tickets – then subjects the vehicle to the City seizing the vehicle

18   under C.V.C. § 22651(i) (assuming five or more unpaid tickets) or § 22651(o)(1)(A)

19   (assuming registration is expired for more than six months). Moreover, the owner

20   cannot reclaim her vehicle unless she secures current registration which first requires

21   that the City issue a release of the DMW hold, a hold the City will not release until the

22   vehicle owner pays the money the City demands for parking tickets. So without judicial

23   review of any type whatsoever, the City seizes and holds vehicles, refusing to release

24       6
           Should defendants argue in reply that the SAC also alleges these plaintiffs had
25    their vehicles released without having to pay all the fees, those special releases
      occurred based on the specific request by plaintiffs’ counsel (as stated at SAC ¶¶ 19,
26    23 & 28), and per the Vehicle Code as explained herein, typically a person cannot
      register their vehicle until all citations are paid and a vehicle will not be released until
27    the car is registered. See for example, SAC ¶24 (“the vehicle did not have current
      registration because the LADOT had put a hold on the registration on account of the
28    unpaid parking citations.”).
                                                 -20-                                    00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 21 of 31 Page ID #:737



 1   them until the City is paid the money the City says it is owed. In more colloquial terms,
 2   the City grabs a vehicle as hostage or leverage to coerce the vehicle’s owner to pay
 3   money the City wants. Luca Brasi-styled enforcement without the bloodshed. 7
 4           Such extremely coercive policy or practice of debt collection under legal process
 5   devoid of any judicial review, has long been held to violate due process.
 6           In North Georgia Finishing v. Di-Chem, 419 U.S. 601 (1975), the question was
 7   whether a Georgia garnishment statute violated due process by permitting a court clerk
 8   to issue a writ of garnishment in a pending lawsuit without participation by judge, and
 9   simply based on an affidavit of plaintiff or his attorney containing conclusory
10   allegations and which prescribed the filing of a bond as only method of dissolving the
11   garnishment, a garnishment which deprived a defendant of their use of property in the
12   garnishee’s hands pending litigation. The absence of any judicial review, the Court held,
13   violated procedural due process. 419 U.S. at 606.
14           Also on point is the Court’s decision in Sniadach v. Family Corp. Of Bay View,

15   395 U.S. 337 (1969). There, the plaintiff-creditor, a holder of a promissory note on

16   which the creditor claimed the borrower defaulted, secured a wage garnishment order

17   without obtaining judicial review; the garnishment remaining in effect until resolution

18   of the underlying debt collection lawsuit. 395 U.S. at 338-39.8 Because of the

19   “tremendous hardship” imposed by the prejudgment wage garnishment, “as a practical

20   matter [the garnishment may] drive [the] wage-earning family to the wall.” 395 U.S.

21   339, 341-42. Thus, this garnishment in the absence of judicial review violated due

22   process. Id., at 342; see Mitchell v. W.T. Grant Co., 416 U.S. 600, 614 (1974)

23   (explaining Sniadach); see also 416 U.S. at 616-17 (Upholding Louisiana’s pre-

24   judgment property seizure statute because unlike those challenged in other cases,

25
         7
          In the 1972 film The Godfather, Luca Brasi was the Corleone family’s ruthless
26    enforcer whenever Don Corleone needed to “make [someone] an offer he can’t refuse.”
         8
27         “What happens in Wisconsin is that the clerk of the court issues the summons at
      the request of the creditor’s lawyer; and it is the latter who by serving the garnishee
28    sets in motion the machinery whereby the wages are frozen.”
                                                -21-                                 00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 22 of 31 Page ID #:738



 1   Louisiana’s law required a hearing before a neutral judicial officer and “judicial
 2   authorization.”).
 3         The City’s debt collection policy is as pernicious as the state laws struck down
 4   in Sniadach and Mitchell. The City seeks to enforce collection on a claimed debt by
 5   seizing one’s vehicle, personal property not subject to a contractual security interest in
 6   the City’s favor (thus precluding the City’s status as “Repo Man”). Moreover, because
 7   “[a] person’s ability to make a living and his access to both the necessities and amenities
 8   of life may depend upon the availability of an automobile when needed,” Stypmann v.
 9   City & County of San Francisco, 557 F.2d 1338, 1342-43 (9th Cir. 1977), the City’s
10   policy of seizing the vehicles can “drive” “to the wall” their owners and families every
11   bit as much as the “wage-earning family” referenced in Sniadach.
12         Defendants’ reliance on South Dakota v. Opperman, 428 U.S. 364 (1976) to argue
13   that impounding vehicles for debt collection on five or more unpaid parking tickets
14   constitute community caretaking justification, ECF 71-1 @ 12:4-5, is meritless.

15   Opperman made no such pronouncement; rather as the full quote makes clear,

16   “community caretaking” means – as Miranda v. Cornelius would say nearly 30 years

17   later – “public safety and the efficient movement of vehicular traffic”:

18         In the interests of public safety and as part of what the Court has called

19         “community caretaking functions,” Cady v. Dombrowski, supra, 413 U.S.

20         at 441, 93 S.Ct. at 2528, automobiles are frequently taken into police

21         custody. Vehicle accidents present one such occasion. To permit the

22         uninterrupted flow of traffic and in some circumstances to preserve

23         evidence, disabled or damaged vehicles will often be removed from the

24         highways or streets at the behest of police engaged solely in caretaking and

25         traffic-control activities. Police will also frequently remove and impound

26
           automobiles which violate parking ordinances and which thereby

27
           jeopardize both the public safety and the efficient movement of vehicular

28
           traffic. The authority of police to seize and remove from the streets

                                                -22-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 23 of 31 Page ID #:739



 1            vehicles impeding traffic or threatening public safety and convenience is
 2            beyond challenge.
 3   428 U.S. at 368-69.
 4            The “parking ordinances” to which Opperman referred are those concerning
 5   “public safety and the efficient movement of vehicular traffic.”9 By their express terms
 6   neither C.V.C. § 22651(i) nor C.V.C. §22651(o) have anything to do with “public safety
 7   and the efficient movement of vehicular traffic;” rather, the statutes grant discretionary
 8   authority for seizing and impounding a vehicle to hold it hostage until the vehicle’s
 9   owner pays what government officials say the seizing authority is owed.
10            Should defendants claim that the post-seizure hearing the City provides pursuant
11   to C.V.C. § 22852 satisfies due process for this type of vehicle seizure – towing and
12   impounding the vehicle as leverage to coerce its owner to pay the money the City claims
13   it is owed – the argument fails. In its present form § 22852 was enacted in 1979. 10 The
14   Legislature enacted § 22852 and its storage hearing requirement in response to

15   Stypmann v. City & County of San Francisco, 557 F.3d 1338 (9th Cir. 1977).11

16   Stypmann concerned vehicles removed from the street as stored vehicles, i.e., an owner

17   could immediately reclaim their vehicle upon proof of ownership and payment of

18   storage fees. While Stypmann did not dispute the police power to have vehicles towed

19   for community caretaking reasons (blocking traffic, etc.) 557 F.3d at 1342 n.10, the

20
         9
21         In Opperman, the vehicle was found parked at 3 a.m. in an area where there was
      no parking from 2 a.m. to 6 a.m., and was given a notice on the windshield that
22    “vehicles in violation of any parking ordinance may be towed from the area.” 428 U.S.
      at 365.
23       10
            S.B. 848, 1979 Leg., Reg. Sess. (Cal. 1979), 1979 Cal. Stat. 3491 (codified as
24    amended at Cal. Vehicle Code § 22852 (West 2021)). Before 1979, § 22852 had no
      requirement for a hearing of any type; the statute only required that the vehicle owner
25    be notified his vehicle had been towed.
         11
26          S.B. 848, 1979 Leg., Reg. Sess. (Cal. 1979) (“It is the intent of the Legislature,
      in enacting this act, to ensure that a person whose unattended vehicle has been ordered
27    by an authorized member of a public agency is provided opportunity for a hearing to
      satisfy due process as mandated in a recent Appellate Court Decision, Stypmann vs.
28    City and County of San Francisco.”).
                                                 -23-                                 00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 24 of 31 Page ID #:740



 1   court held that owners were entitled to an “early hearing” in less than five days at which
 2   they could “test the factual basis of the tow” without first having to pay the tow charges,
 3   etc. Id., at 1343-45.
 4            Plainly, in Stypmann the issue was about when and under what circumstances the
 5   vehicle owner could challenge the obligation to pay towing and storage charges in order
 6   to secure the vehicle’s release; permanent deprivation of one’s vehicle (for failure to
 7   pay allegedly unpaid parking tickets) was not on the table.12 Nor was there any claim
 8   that the local government towed and impounded the vehicles to coerce vehicle owners
 9   to pay money the local government claimed it was owed, the policy at issue in the
10   present case. Additionally, for Plaintiffs herein and class members, the § 22852 hearing
11   officer is not a disinterested official – he is a City employee who decides if Plaintiffs
12   and class members must pay the money the hearing officer’s employer the City says it
13   is owed. Consequently, the § 22852 storage hearing does not satisfy due process for
14   seizing vehicles to enforce debt collection.

15            Additionally, the hearing officer may (and probably would) claim he has no

16   authority to address the issue of the owner’s obligation to pay the unpaid tickets; for the

17   hearing officer’s only concern is whether the vehicle was towed in compliance with

18   subdivision (i) (unpaid parking tickets) or subdivision (o)(1)(A) (vehicle registration

19   more than six months expired) of C.V.C. § 22651. The California Constitution, Art. III

20   § 3.5(c), states that the § 22852 City hearing officer cannot

21            declare a statute unenforceable, or to refuse to enforce a statute on the

22            basis that federal law or federal regulations prohibit the enforcement of

23            such statute unless an appellate court has made a determination that the

24            enforcement of such statute is prohibited by federal law or federal

25            regulations.

26
         12
            In the present case, if Plaintiffs and class members do not reclaim their vehicles
27    within a period of about six to eight weeks, the vehicle is sold pursuant to a statutory
      lien in favor of the tow company for charges owed the tow company. See Cal. Veh.
28    Code § 22851(a); SAC ¶15.
                                                -24-                                   00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 25 of 31 Page ID #:741



 1         Since no court has declared either subdivisions (i) or (o)(1)(A) unconstitutional
 2   (and likely never will13) the § 22852 hearing officer – a non-judicial City employee –
 3   cannot adjudicate the constitutionality of imposing a subdivision (i) or (o)(1)(A) vehicle
 4   impound in the circumstances of the seizures of Plaintiffs’ and class members’ vehicles.
 5   Ordonez v. Stanley, 495 F.Supp.3d 855, 864-65 (C.D. Cal. 2020); \Krimstock v. Kelly,
 6   464 F.3d 246, 255 (2nd Cir. 2006) (Krimstock III) (In an opinion by then-Circuit Judge
 7   Sotomayor, Second Circuit holds that the state must provide “some immediate judicial
 8   review of [a prolonged vehicle] retention.”); Sandoval v. County of Sonoma, 912 F.3d
 9   509, 521 (9th Cir. 2018) (Watford, J., concurring and dissenting in part) (Judge Watford
10   concludes that § 22852 storage hearings for 30 day vehicle impounds do not comport
11   with due process because of the absence of impartial judicial or quasi-judicial review.).
12         If in their reply defendants argue that § 22852 storage hearings as applied to
13   Plaintiffs and class members satisfy due process based on David v. City of Los Angeles,
14   307 F.3d 1143 (9th Cir. 2002), Scofield v. City of Hillsborough, 862 F.2d 759 (9th Cir.

15   1988), and/or Goichman v. Rheuban Motors, Inc., 682 F.2d 1320 (9th Cir. 1982)

16   (defendants have made this argument in other cases) the argument fails. None of those

17   cases concerned the issue this case raises – the City of Los Angeles seizing and

18   impounding vehicles as leverage to coerce their owners to pay money the City says it

19   is owed. Rather, the decisions concerned the payment of charges for the towing and

20   storage of vehicles that could not be safely left on the street and hence, for community

21   caretaking reasons the police towed and stored (not impounded) the vehicles. In all

22   cases the vehicles were subject to prompt release upon payment of only towing and

23   storage charges; none were vehicles seized to punish or deter the vehicle owners.

24         Here, by contrast, the City admits it impounded the vehicles to “deter[] [] parking

25   illegally,” ECF 71-1 @ 11:15-16, and seeks to punish Plaintiffs and class members for

26
           13
             Although by their respective terms neither subdivision requires community
27    caretaking justification, the absence is remedied by case law imposing a community
      caretaking requirement. E.g., Miranda v. City of Cornelius, supra; People v. Torres,
28    188 Cal.App.4th 775, 792 (2010).
                                                -25-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 26 of 31 Page ID #:742



 1   being scofflaws (ECF 71-1 @ 11:5-6).14
 2            C. The Allegations That Defendants Ignore Vehicle Owners Ability To Pay,
 3            State A Due Process Claim.
 4            Defendants argue there is no due process right to have one’s ability to pay be
 5   taken into consideration. ECF 71-1 @ 20:9-22:2. First, that People v. Dueñas, 30
 6   Cal.App.5th 1157, 1166-69 (2019) (SAC ¶66) is a criminal case, makes no difference.
 7   That it holds the state cannot inflict punishment on individuals on the basis of their
 8   poverty applies just as well here because defendants admit they impound vehicles to
 9   deter and inflict punishment.
10            Second, that some California appellate courts disagree with the holding of
11   Dueñas does not mean it is no longer good law. Until the California Supreme Court
12   overrules it, this Court may consider it good law.
13            Third, as they did in opposing Plaintiffs’ Motion to Amend, defendants again rely
14   on several unpublished district court cases involving pro se plaintiffs, for the

15   proposition that the “due process” claim is futile: Hallal v. Seroka, No. 1:18-cv-388,

16   2018 WL 3528709 (E.D. Cal. 2018); Damiano v. City and County of San Francisco, no.

17   C 14–02863 LB, 2014 WL 6359763 (N.D. Cal. 2014); and Tounget v. City of Hemet,

18   2011 WL 13143671 (C.D. Cal. 2011). ECF 71-1 @ 21:10-22:2. None say anything

19   about Plaintiff’s theory or claim. Hallal had to do with a plaintiff who bought a car from

20   its owner and then received a notice from the DMV that if she wanted to register the

21   vehicle, she had to pay its old tickets. In finding that the plaintiff has not stated a claim

22   for a § 1983 violation, the court’s order explains the process whereby the plaintiff can

23   contest parking tickets and states it must be done in state court, not federal court. Hallal,

24   2018 WL 3528709 at *3. Similarly, in Damiano, even though it was not clear what the

25   plaintiff was claiming, the court says he could not contest the process of contesting

26
         14
27         Kokesh v. Securities and Exchange Commission, 137 S.Ct. 1635, 1643 (2017)
      (Deterrence is punishment); United States v. Bajakajian, 524 U.S. 321, 329 (1998)
28    (same).
                                                 -26-                                    00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 27 of 31 Page ID #:743



 1   parking tickets in federal court. 2014 WL 6359763 at *3. In Tounget, the plaintiff’s
 2   claimed due process claim was that he should have been given notice before his vehicles
 3   were towed. 2011 WL 13143671 at *4. The court disagreed, citing Scofield v. City of
 4   Hillsborough, 862 F.2d 759 (9th Cir. 1988), which has no application here.
 5            Lastly, defendants’ claim they do take into account people’s ability to pay, ECF
 6   71-1 @ 22:3-18, also fails. Taking the facts stated in the SAC as true, defendants did
 7   nothing for Plaintiff Fitzpatrick when she explained and provided documentation of her
 8   inability to pay. SAC ¶18. Moreover, even if the Court could consider the CAPP and
 9   installment payment programs defendants discuss, those are only for people who are
10   homeless or are making less than minimum wage; they do not consider all people’s
11   inability to pay, as evidenced by what happened to Ms. Fitzpatrick. 15
12   IV. The SAC Alleges Valid Takings Claims.
13            Initially, defendants’ argument turns on their claim that because the vehicle
14   impounds were valid (defendants do not distinguish between justification for the initial

15   seizure versus the subsequent impound) the Takings claim is unsupportable. ECF 71-1

16   @ 16:22-17:3. Defendants’ arguments fails because as discussed above, the impounds

17   (whether initial seizure or refusing to release the vehicle) violated the Fourth

18   Amendment and due process.

19            Defendants’ backup claim – there can be no Takings Claim unless the property

20   was seized for a public use (ECF 71-1 @ 17:4-14) – was already rejected by this Court.

21   ECF 197 filed 7/14/20 @ pp. 13-14 (filed in Brewster v. City of Los Angeles, 5:14-cv-

22   2257 JGB).

23            An additional authority here is the June 22, 2021 Supreme Court opinion in

24   Cedar Point Nursery v. Hassid, 594 U. S. ___, 141 S.Ct. 2063 (2021). Cedar Point

25
         15
26        According to the Federal Register by the United States Department of Health and
      Human Services, the Poverty Guidelines for 2022 for a one-person household is an
27    annual income of $13,590. Even at 150% of that ($20,385), a person would only
      qualify if they make $9.80 per hour, well below the minimum wage of $16.04 in the
28    City of Los Angeles.
                                                 -27-                                00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 28 of 31 Page ID #:744



 1   confirms this Court made the right call in its previous rulings upholding the Takings
 2   Claim. In Cedar Point Nursery, the Court analyzed a California statute that required
 3   farms to allow union organizers onto their property at certain times of the day for some
 4   limited number of hours per year, finding it amounted to a per se taking requiring
 5   compensation. Id. at Slip Opinion pp. 10-11: “The upshot of this line of precedent is that
 6   government authorized invasions of property-whether by plane, boat, cable, or
 7   beachcomber-are physical takings requiring just compensation. . . . It is therefore a per
 8   se physical taking under our precedents. There was no absolute requirement of “public
 9   use” because even a temporary taking or that the government does not assert any formal
10   title to property, requires compensation: “The government commits a physical taking
11   when it uses its power of eminent domain to formally condemn property. [Citations
12   omitted] The same is true when the government physically takes possession of property
13   without acquiring title to it.” Id. at 5. Hence, the Court concluded: “the government can
14   commit a physical taking either by appropriating property through a condemnation

15   proceeding or by simply ‘enter(ing) into physical possession of property without

16   authority of a court order [citation omitted].’ ”Id. at 13. “Any other result would allow

17   the government to appropriate private property without just compensation so long as it

18   avoids formal condemnation.” Id. at 14.

19   V. The SAC Adequately Alleges Entity Liability.

20         The defendants’ argument there is no City policy (i.e. that they enforce only state

21   law) is contrary to the SAC’s allegations, see SAC ¶¶13-15. Furthermore, its is

22   disingenuous for defendants to argue it is the State’s fault, not defendants, that Plaintiffs

23   cannot register their vehicles, and that defendants have nothing to do with DMV

24   registration. ECF 71-1 @ 19:5-20:2. Defendants’ enforcement of § 22651(i) and (o) is

25   discretionary. Since the DMV imposed the hold on registration at the City’s direction,

26
     SAC ¶¶25, 29, while the City exercised its discretion to impound under subdivisions (i)

27
     or (o) in order to enforce collection of alleged debt owed to the City, the City is liable.

28
     Malley v. Briggs, 475 U.S. 335, 345 n.7 (1986) (rejecting an argument that “the judge’s

                                                 -28-                                    00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 29 of 31 Page ID #:745



 1   decision to issue the warrant breaks the causal chain between the application for the
 2   warrant and the improvident arrest”); Bravo v. City of Santa Maria, 665 F.3d 1076,
 3   1089 (9th Cir. 2011) (In § 1983 litigation, a court applies “traditional tort law
 4   principles” of causation for determining if a defendant’s wrongful act caused injury to
 5   the plaintiff.); see also this Court’s Order filed 7/29/19 (ECF 171) in Brewster v. City
 6   of Los Angeles, 5:14-cv-2257 JGB, @ pp. 7-10 (City is liable for its policy of enforcing
 7   C.V.C. § 14602.6 thirty day vehicle impounds).
 8   VI.   The SAC Properly Names the City, LAPD and LADOT as Separate
 9   Defendants.
10         Plaintiff may name the City of Los Angeles, the Los Angeles Department of
11   Transportation (“LADOT”) and the Los Angeles Police Department (“LAPD”) as
12   separate defendants because the Ninth Circuit holds such agencies are separately suable
13   entities. Karim-Panahi v. Los Angeles Police Dept., 839 F.2d 621, 624 n.2 (9th Cir.
14   1988) (“Municipal police departments are “public entities” under California law and,

15   hence, can be sued in federal court for alleged civil rights violations.”).

16   VII. The Removal of the “Legally Parked” Allegation.

17         Defendants claim that because the SAC drops the allegation that Ms. Fitzpatrick’s

18   vehicle was “legally” parked at the time of the initial seizure, that somehow shows that

19   towing her car was justified.. ECF 71-1 @ 14:11-16. Plaintiff Fitzpatrick no longer

20   alleges “legally” parked because it is possible (though unlikely) that there was a de

21   minimus parking violation. But as this Court found in ruling on defendants’ motion for

22   sanctions, a “reasonable jury could find that Ms. Fitzpatrick’s vehicle was parked

23   lawfully in light of the incomplete red zone paint, the “no parking 8 a.m. to 11 a.m.” on

24   Fridays sign, and the fact her car was not parked in the continuous red zone area.” ECF

25   60, 4/8/22 Order @ page 4. Furthermore, given the allegations that however Ms.

26
     Fitzpatrick’s vehicle was parked it was not posing any kind of traffic hazard, the

27
     “legally” parked allegation was unnecessary. Miranda, 429 F.3d at 864 (“Whether an

28
     impoundment is warranted under this community caretaking doctrine depends on the

                                                -29-                                 00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 30 of 31 Page ID #:746



 1   location of the vehicle and the police officers’ duty to prevent it from creating a hazard
 2   to other drivers or being a target for vandalism or theft.”).
 3   VIII. No Individual Defendant Is Entitled to Qualified Immunity.
 4         Defendants claim Seleta and Hale are entitled to qualified immunity because there
 5   is no case law stating it amounts to a constitutional violation to seize a vehicle for
 6   multiple unpaid parking tickets. ECF 71-1 @ 24:9-11. Seems like defendants forgot that
 7   in their original Motion to Dismiss, they cited Deligiannis v. City of Anaheim, 2010 WL
 8   1444538 (C.D. Cal. 2010), which this Court also cited in is 1/20/22 Order denying their
 9   Motion. ECF 48 @ 7, fn 4. In Deligiannis, in her report the magistrate judge stated that
10   “presumably towing vehicles with multiple unpaid parking citations advances the
11   government’s interest of ensuring that drivers do not park illegally and deters owners
12   from violating parking laws.”16 Though that court found qualified immunity since the
13   towing incident happened before the 2005 Miranda decision, the court held there was
14   a Fourth Amendment violation:

15         Here, the car was parked on the street in front of plaintiff’s home.

16         Defendants offer no evidence that plaintiff’s vehicle jeopardized either the

17         public safety or the efficient movement of vehicular traffic. Opperman,

18         428 U.S. at 368-69. Nor do defendants offer evidence that plaintiff’s

19         vehicle was blocking a driveway or crosswalk, that it was a potential target

20         for vandalism or theft, or that they were concerned that plaintiff would

21         move or hide the vehicle to avoid paying the fine. Caseres, 533 F.3d at

22         1075; Miranda, 429 F.3d at 864. Although this court does not question that

23         impounding a vehicle for unpaid parking tickets advances the legitimate

24         16
              The decision cited is the report and recommendation of Magistrate Judge
25    Jacqueline Chooljian, which District Judge David O. Carter adopted in 2010 WL
      1444535. The granting of qualified immunity was later affirmed by the Ninth Circuit
26    on the grounds that at the time of the incident, which pre-dated Miranda, “it was not
      clearly established whether Deligiannis was entitled to a warrant or a pre-seizure
27    hearing before defendants seized his vehicle under California statute for failure to pay
      multiple parking tickets.” Deligiannis v. City of Anaheim, 471 Fed.Appx. 603 (9th Cir.
28    2012).
                                                -30-                                  00151577.WPD
Case 2:21-cv-06841-JGB-SP Document 72 Filed 07/11/22 Page 31 of 31 Page ID #:747
